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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


SILVIA RODRIGUEZ                                                       CIVIL ACTION

VERSUS                                                                       No. 21-699

WAFFLE HOUSE, INC., ET AL.                                                   SECTION I

                                         ORDER

         Considering the parties joint motion 1 to dismiss with prejudice,

         IT IS ORDERED that the motion is GRANTED and that the above-captioned

case be and hereby is DISMISSED WITH PREJUDICE. Each party shall bear its

own costs.

         New Orleans, Louisiana, January 21, 2022.



                                          _______________________________________
                                                   LANCE M. AFRICK
                                          UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 44.
